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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION


SIOUX STEEL COMPANY, a South                                          Civ. 15-4136
Dakota corporation,

               Plaintiff,
                                                          STATEMENT OF UNDISPUTED
vs.                                                           MATERIAL FACTS

KC ENGINEERING, P.C., an Iowa
corporation,

               Defendant.


       Defendant KC Engineering, P.C., (“KC Engineering”), by and through its undersigned

attorneys of record, and pursuant to Fed. R. Civ. P. 56, respectfully submits this statement of

undisputed material facts in support of its motion for partial summary judgment. The citations

below refer to attachments to the Affidavit of Michael F. Tobin in Support of Motion for Summary

Judgment or the files and records of this action. The following facts are not in dispute and support

the motion for partial summary judgment:

       1.      Sioux Steel Company (“Sioux Steel”) manufactures and sells hopper silos for

handling and storing grain commodities. (Doc. 17 (“Amended Complaint”), ¶ 5).

       2.      Sioux Steel manufactured and sold a 30’ Diameter Hopper Cone Assembly and silo

bin (“the Hopper Bin”) to Agropecuaria El Avion (“Agropecuaria”), which was installed at a

Agropecuaria plant in Tepic, Mexico. (Amended Complaint, ¶ 12).

       3.      The Hopper Bin failed, resulting in the destruction of the bin and fatal injuries to

two Agropecuaria employees. (Amended Complaint, ¶ 13-14).

       4.      The structural failure of the Hopper Bin occurred when its seams separated and

catastrophically discharged the contents of the silo. (Amended Complaint, ¶ 17).

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       5.        Agropecuaria sought damages from Sioux Steel, which subsequently resulted in a

settlement agreement between the two parties. (Tobin Aff. at Ex. E; Amended Complaint, ¶ 26).

       6.        The terms of the Settlement Agreement held that Agropecuaria released Sioux

Steel, and all other potential “joint tortfeasors,” from all liability related to the collapse of the

Hopper Bin. (Tobin Aff. at Ex. E).

       7.        Sioux Steel filed this lawsuit against KC Engineering, alleging that KC Engineering

was negligent in failing to catch a mistake originally in Sioux Steel’s design of the Hopper Bin, a

mistake initially made by a Sioux Steel engineer who used a wrong formula.                (Amended

Complaint, ¶ 20-24).

       8.        Chad Kramer (“Kramer”) is an engineer for Sioux Steel and designed the Hopper

Bin that failed. (Deposition of Kramer (“Kramer Depo.”), 9).

       9.        At the time of its design, the Hopper Bin was an entirely new sort of bin for Sioux

Steel meant to expand its product line to compete with others in the industry who manufactured

hoppers. (Kramer Depo., 9-10, 29-30).

       10.       As part of the Hopper Bin’s design plans, Kramer calculated the various loads,

forces, and stresses that would be applied on both the vertical and horizontal seams. (Kramer

Depo., 17-18).

       11.       Kramer also calculated the utilization ratio for the seams, which informs how much

of the allowable capacity is utilized. (Kramer Depo., 21).

       12.       According to the utilization ratios calculated by Kramer for the Hopper Bin,

multiple vertical seams of the Hopper Bin were over-stressed. (Kramer Depo., 22).

       13.       No other engineers at Sioux Steel, other than Kramer, reviewed or oversaw

Kramer’s design of the Hopper Bin. (Kramer Depo., 9, 26).



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       14.       Where the utilization ratio is above one, there is a problem, which was the case at

the 28-foot and the 15-foot diameter of the Hopper Bin. (Kramer Depo., 22, 23).

       15.       Kramer did not know or appreciate these problematic rations until the Hopper Bin

had failed. (Kramer Depo., 23).

       16.       Due to the errors relating to the utilization ratios, the Hopper Bin should never have

been sent out. (Kramer Depo., 24).

       17.       The problematic utilization ratios were due to a math error and/or mistake by

Kramer. (Kramer Depo., 24).

       18.       The mistake occurred because Kramer had utilized the wrong formula for

calculating the utilization ratios. (Kramer Depo., 92-93).

       19.       Kramer’s mathematical errors led to the collapse of the Hopper Bin. (Kramer

Depo., 83-84).

       20.       Due to the failure of the Hopper Bin in Mexico, Sioux Steel made changes to

account for the problematic utilization ratios, specifically modifying the hopper panels, changing

the bolt spacing, and increasing the edge distances from the edge of the material to the edge of the

bolts. (Kramer Depo., 24).

       21.       Sioux Steel did not have these subsequent changes to the Hopper Bin reviewed or

vetted by any outside company. (Kramer Depo., 79).

       22.       Prior to the manufacture and sale of the Hopper Bin, Sioux Steel retained KC

Engineering to perform a structural engineering analysis and design review of two hopper cones

that Sioux Steel had designed and proposed to be used with its eighteen and thirty-foot diameter

grain bins. (Kramer Depo., 27-28; Tobin Aff. at Ex. D).




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       23.    As part of that engineering analysis and design review, KC Engineering first ran

Sioux Steel’s design through a software program. (Kramer Depo., 34-35).

       24.    The purpose of this analysis and review was to determine some general forces and

tensions within the silo and cone but said analysis did not speak to the adequacy of the vertical

seams, nor was it meant to. (Kramer Depo., 34-35, 46; Tobin Aff. at Ex. D).

       25.    KC Engineering was also to review drawings and calculations provided by Sioux

Steel. (Kramer Depo., 33; Tobin Aff. at Ex. D; Jason O’Mara Deposition (“O’Mara Depo.”), 29).

       26.    Sioux Steel did not provide its calculations to Sioux Steel, even though KC

Engineering had asked from them in their proposal. (Kramer Depo., 34-35, 38, 41; Tobin Aff. at

Ex. D; O’Mara Depo., 29).

       27.    Calculations were necessary in order to know whether what’s shown on the drawing

is adequate or not and that the drawings cannot be reviewed for adequacy without doing

calculations. (O’Mara Depo., 60).

       28.    While the calculations were not provided to KC Engineering, Sioux Steel did

provide drawings that were reviewed. (Derek Matthies Depo., 13).

       29.    Sioux Steel was provided a report from KC Engineering regarding its review of

Sioux Steel’s design. (Kramer Depo., 46).

       30.    Sioux Steel did not review the entire report from KC Engineering. (Kramer Depo.,

46).

       31.    Had Sioux Steel read the results, it would have known that KC Engineering did not

review any of the vertical seams that were subject to Kramer’s math errors. (Kramer Depo., 46-

47).




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       32.     KC Engineering provided information showing which seams they did and did not

review i.e. spot-checking. (Kramer Depo., 47).

       33.     KC Engineering did review the horizontal connections. (Kramer Depo., 47)

       34.     KC Engineering’s decision to spot-check was a direct result of Sioux Steel’s failure

to provide its calculations, which it was required to do. (O’Mara Depo., 48, 61).

       35.     The spot-checks that were done did not show that the connections reviewed were

significantly overdesigned or significantly underdesigned. (O’Mara Depo., 48).

       36.     The report provided by KC Engineering documented what was checked and Sioux

Steel could have reviewed the report to see what was and was not checked by KC Engineering.

(O’Mara Depo., 50-51).

       37.     Sioux Steel alleges as a direct and proximate cause of KC Engineering’s alleged

negligence, Sioux Steel has incurred damages for the failure of the Hopper Bin. (Amended

Complaint, ¶ 25-31).

       38.     Sioux Steel does not allege that KC Engineering’s negligence was the sole cause of

its alleged damages. (See generally Amended Complaint).

       39.     Kramer conceded that blame was with both Sioux Steel and KC Engineering.

(Kramer Depo., 88).

       Dated this 16th day of March, 2018.

                                                    /s/     Michael F. Tobin
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